     Case 2:24-cv-00427-TOR      ECF No. 8    filed 02/25/25   PageID.165          Page 1 of 2




 1
                                                                          FILED IN THE

 2                                                                    U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON




 3                                                               Feb 25, 2025
                                                                     SEAN F. MCAVOY, CLERK


 4

 5                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7   ZACHARY J. BIGGS,                          Case No. 2:24-CV-0427-TOR

 8                            Petitioner,
                                                ORDER DISMISSING HABEAS
 9               v.                             CORPUS PETITION

10   SCOTT SPEER,

11                            Respondent.

12

13         On January 23, 2025, Petitioner Zachary J. Biggs was ordered to show cause

14   why his Petition for a Writ of Habeas Corpus by a Person in State Custody pursuant

15   to 28 U.S.C. § 2254 should not be dismissed as time-barred under 28 U.S.C.

16   § 2244(d). ECF No. 7. Petitioner is in custody pursuant to a judgment of a state

17   court and is currently housed at the Stafford Creek Corrections Center. ECF No. 1

18   at 2. Petitioner is proceeding pro se and has paid the $5.00 filing fee. Respondent

19   has not been served.

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     ORDER DISMISSING HABEAS CORPUS PETITION -- 1
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 1         In the Order to Show Cause, the Court cautioned Petitioner that his failure to

 2   show cause why this action should not be dismissed as time-barred would be

 3   construed as his consent to the dismissal of this action. ECF No. 7 at 12. Petitioner

 4   did not respond to the Order to Show Cause within thirty days as directed and has

 5   filed nothing further in this action.

 6         Accordingly, for the reasons set forth in the Order to Show Cause, ECF No.

 7   7, IT IS ORDERED that the Petition, ECF No. 1, is DISMISSED with prejudice

 8   as time-barred under 28 U.S.C. § 2244(d).

 9         IT IS SO ORDERED. The Clerk of Court is directed to enter this Order,

10   enter judgment, forward copies to Petitioner, and CLOSE the file. The Court

11   further certifies that pursuant to 28 U.S.C. § 1915(a)(3), an appeal from this decision

12   could not be taken in good faith, and there is no basis upon which to issue a

13   certificate of appealability. 28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).

14         DATED February 25, 2025.

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                                     THOMAS O. RICE
17                                United States District Judge

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     ORDER DISMISSING HABEAS CORPUS PETITION -- 2
